Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.396 Page 1 of 6
Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.397 Page 2 of 6
Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.398 Page 3 of 6
Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.399 Page 4 of 6
Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.400 Page 5 of 6
Case 2:10-cr-02102-FVS   ECF No. 117   filed 05/04/11   PageID.401 Page 6 of 6
